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                  EXHIBIT R
                                     Case: 1:18-cv-02022 Document #: 104-6 Filed: 03/20/23 Page 2 of 5 PageID #:1501




From:                                                                                             Burns, Cheryl
Sent:                                                                                             Monday, November 2,201510:27 AM
To:                                                                                               Ludwig, Kathryn E.
Subject:                                                                                          FW: HCV Sept Rent Roll.xlsx
Attachments:                                                                                      HCV Sept Rent Roll.xlsx



Katie,

Per our discussion this was the last report Russell provided to me.

Cheryl

                                                                   Cheryl    L   Burnsl Senior Director, Housing Choice Voucher Program
                                                                   Phone 312.786.4046 | Fax 312.913.4093 | Mobile 773.469.6!63
                                                                   Chicago Housing Authority | 60 E. Van Buren I Chicago, lL 60605

                    *{ Ll1ffi,S,
                    /*                                             cburns@thecha.ors I          Wry-W_.lh_eSh-A.olg

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               .::r!:r:i'l]:i::::::::i:'r,'
                                                                   Like us on.l-aq-e-b_o-qf,   | Follow   us on L\ryilt_ej.
                                                                   NOTICE: This email message, including any attachments, may contain information that is confidential and/or proprietary. lf you are not an
                                                                   intended recipient, please be advised that any review, use, reproduction or distribution of this message is prohibited.

Please consider the environment before printing this email.



From: Leslie, Russell
Sent: Friday, September 1L,2A15 2:50 PM
To: Burns, Cheryl <CBurns@thecha.org>
Cc: Huttenlocher, Tessa <TH uttenlocher@thecha.org>
Subject: HCV Sept Rent Roll.xlsx

I ran               the Monthly                                    HCV Address Listing. Here are my findings.


We have 1130 unit managed by Pangea and its Holdings. Many of these are not on the data that Pangea shared with us.

I   suggest we request the data for all Pangea and its Holdings to obtain a complete list.

Also, the list they should provide should be contain the USPS addresses.




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           Case: 1:18-cv-02022 Document #: 104-6 Filed: 03/20/23 Page 4 of 5 PageID #:1503




From:                                 Leslie, Russell
Sent:                                 Friday, September 11,2015 2:50 PM
To:                                   Burns, Cheryl
Cc:                                   Huttenlocher, Tessa
Subject:                              HCV Sept Rent Roll.xlsx
Attachments;                          HCV Sept Rent Roll.xlsx



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Also, the list they should provide should be contain the USPS addresses.




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                  Document Produced Natively




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